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                                                                                                            IN THE UNITED STATES DISTRICT COURT
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                                                                         9                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                     10
                                                     11                      UNITED STATES OF AMERICA,                                 No. CR 92-00001 CRB
United States District Court




                                                     12                                         Plaintiff,                             ORDER
                                                     13                         v.
                               For the Northern District of California




                                                     14                      TIMOTHY BLUITT,
                                                     15                                         Defendant.
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                                                     17                               Now pending before the Court is defendant’s motion pursuant to 18 U.S.C. section
                                                     18                      3582(c)(2) for a sentence reduction. The government shall file a response on or before
                                                     19                      February 10, 2006. The Court will take the motion under submission at that time.
                                                     20                               IT IS SO ORDERED.
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                                                     22                      Dated: January 6, 2006                                    CHARLES R. BREYER
                                                                                                                                       UNITED STATES DISTRICT JUDGE
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